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 STANG v. UNION FOR REFORM JUDAISM


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 L ETTERS   O P I NI O N




Letters: A thoughtful way to celebrate the holidays
                                                     CHICAGO TRIBUNE    |   DEC 15, 2019




Last year I decided to start a new holiday tradition and write Christmas letters of love to my two sons and daughter-in-
law. I had some holiday paper and matching envelopes and proceeded to write loving thoughts from the heart. I hope
they were moved by what I said and that they cherish these pieces of paper and keep them for future reading.

With all of the hustle and bustle of the holiday season, we rush around looking for the right present to buy for a loved
one, which many times may get returned or regifted or tossed. How many hours do you spend on the internet trying to
find the right gift for someone special? I am not saying not to buy him or her something, but we have gotten to be such a
materialistic society that we have forgotten what the holidays are truly about, the birth of a “child.” Family and friends
are the important thing. Attend some Christmas programs, enjoy the Christmas lights and remember to express loving
thoughts to those you know. Even a smile to a stranger could make the person’s day.

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Germany’s integrity vs. America’s denial

As reported in the Chicago Tribune on Dec. 8 (“In 1st Auschwitz visit, Merkel voices Germany’s ‘deep shame'”), speaking
for Germany, Chancellor Angela Merkel just donated $66.6 million to the long-term upkeep of the World War II Nazi
work camp of Auschwitz-Birkenau. The camp is known for the infamous sign at its entrance, “Arbeit Macht Frei” (“Work
will set you free”).

Said Merkel, now 74 years after the end of WWII: The atrocities “are and will remain part of German history and this
history must be told over and over again.” In short, it is a moral debt Germany owns and embraces forever. This, in case
anyone missed it, is in addition to the millions of dollars Germany has paid in reparations to Israel to atone for Nazi harm
done specifically to Europe’s Jewish communities in general. Not to mention strict German postwar laws against reviving
Nazism.



This is what moral integrity looks like.



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Compare that to the posture taken so far by America’s politicians who have denied ownership of this nation’s moral debt
for establishing and maintaining the institution of chattel slavery from 1619 to 1865, 246 years, the profits from which,
through agriculture, laid the economic foundation of this nation’s wealth, poising it to make the most of the Industrial
Revolution, which, along with our natural resources, has enabled the U.S. to become the world’s leading power. Hardly
any aspect of our economic system, including banks and the insurance industry, failed to benefit directly or indirectly
from the profits of slavery.

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All this on the backs, toil, pain and tears of kidnapped people, whose descendants are repeatedly told that, despite the
accumulated collective wealth they were instrumental in creating, that there is no basis for reparations of any kind for
this theft of person and labor. In our schools, American history textbooks likewise deliberately fudge, omit and gloss over
the naked brutality of slavery, miseducating our youths, generation after generation.


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   This is what collective, institutionalized denial looks like.




   — Ted Z. Manuel, Chicago

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